                                                                           Exhibit 6



American Party of Labor
re:power
Milwaukee Democratic Socialists of America
International Migrants Alliance-USA (IMA-USA)
CODEPINK
UWGB SDS
UWM SDS
Oshkosh Student Socialist Association
Minnesota Peace Action Coalition
Colorado Palestine Coalition
Democratic Socialists of America - Milwaukee
green bay anti war committee
Peace Action of Wisonsin (PAWI)
Peace Action of WI (PA WI)
Coalition to March on the DNC 2024
Voces de La Frontera
Minnesota Abortion Action Committee (MNAAC)
American Party of Labor
Climate Alliance of the South Sound
Oshkosh Student Socialist Association
Byp 100- Milwaukee
CSAN PCSU
Minnesota Immigrant Rights Action Committee (MIRAC)
MIRAC/ BRAPB
Wayne State SDS
Milwaukee For Yemen
Climate Justice Committee
CSAN, PCSU, PNW POP
International League of Peoples' Struggle - US Country Chapter (ILPS-US)
Milwaukee Area Labor Council
New Orleans Healthcare Workers for Palestine
Green Bay Anti-war Committee (GBAC)
Freedom Road Socialist Organization
DACAC
Young Workers Committee - Milwaukee
Change is Coming
Supply and Demand for MKE Resistance
International League of Peoples Struggle (ILPS)
AFSCME Local 526
Grand Rapids Alliance Against Racist and Political Repression
Hate Free Outagamie
Reproductive Justice Action - Milwaukee
Legalization for All Network
Climate Alliance of the South Sound
La Frontera Nos Cruzó
Silicon Valley Immigration Committee
NEW ORLEANS ARTISTS FOR PALESTINE
Lawrence University Young Democratic Socialists of America
New Orleans for Community Oversight of Police
New Orleans Stop Helping Israel’s Port



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Tucson Anti War Committee
Sierra Club
Progressive Student Union at UW Seattle
GVSU YDSA/Students for a Democratic Society
Hands Off Uhuru
Atlanta Alliance Against Racist & Political Repression
SBWU
Madison Abortion and Reproductive Rights Coalition for Healthcare (MARRCH)
Women Against Military Madness
Our Wisconsin Revolution
Greater Milwaukee Green Party
MN Anti-War Committee
Women Against Military Madness
United National Antiwar Coalition (UNAC)
Diaspora Pa'lante Collective
ASU's Carnegie-Knight News21
American Party of Labor - Los Angeles
Milwaukee For Yemen
American Party of Labor -- Fidel Castro Ruz Division (Central Florid)
San Jose Against War
Tampa Alliance Against Racist and Political Repression
National Association of Letter Carriers Branch 2
California United




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